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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

   CommScope, Inc.; CommScope, Inc. )
                                        Civil Action No. 19-cv-15962-
   of North Carolina; and CommScope )
                                        JXN-LDW
   Technologies LLC,                  )
                                      )
                Plaintiffs,           )
                                      )
   v.                                 )
                                      )
   Rosenberger Technology (Kunshan) )
   Co. Ltd., Rosenberger Asia Pacific )
   Electronic Co., Ltd., Rosenberger  )
   Technology LLC, Rosenberger USA )
   Corp., Rosenberger North America   )
   Pennsauken, Inc., Rosenberger Site )
   Solutions, LLC, Rosenberger        )
   Hochfrequenztechnik GmbH & Co. )
   KG, Northwest Instrument, Inc.,    )
   CellMax Technologies AB, Janet     )
   Javier, and Robert Cameron,        )
                                      )
                Defendants.           )
                                      )
    _____________________________ )

       ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT
        Defendant Northwest Instrument, Inc. (“Northwest Instrument”), by and

  through its undersigned attorneys, hereby answers Plaintiffs’ Second Amended

  Complaint (the “Second Amended Complaint”) as follows:

        1.    Northwest Instrument denies the allegations set forth in Paragraph 1.

        2.    Northwest Instrument denies the allegations set forth in the first and

  third sentence of Paragraph 2.      Northwest Instrument lacks knowledge or


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  information sufficient to form a belief as to the truth of the allegations set forth in

  the second sentence of Paragraph 2, and, on that basis, denies the allegations.

        3.     Northwest Instrument denies the allegations set forth in Paragraph 3.

        4.     Northwest Instrument denies the allegations set forth in Paragraph 4.

        5.     Northwest Instrument denies the allegations set forth in Paragraph 5.

        6.     Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in the second sentence in

  Paragraph 6, and, on that basis, denies the allegations. Northwest Instrument denies

  the allegations set forth in the remainder of Paragraph 6.

        7.     Northwest Instrument denies the allegations set forth in Paragraph 7.

        8.     Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in the first sentence of

  Paragraph 8 with respect to CommScope’s intentions, and, on that basis, denies the

  allegations. Northwest Instrument denies the allegations set forth in the remainder

  of Paragraph 8.

        9.     Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 9, and, on that

  basis, denies the allegations.




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        10.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 10, and, on that

  basis, denies the allegations.

        11.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 11, and, on that

  basis, denies the allegations.

        12.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 12, and, on that

  basis, denies the allegations.

        13.    Northwest Instrument denies the allegations set forth in the first two

  sentences of Paragraph 13. Northwest Instrument avers that it is not a member of

  the Rosenberger Group and therefore lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in the third and fourth

  sentences of Paragraph 13, and, on that basis, denies the allegations. Northwest

  Instrument respectfully refers the Court to the entirety of the referenced documents

  for their complete and accurate contents.

        14.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 14, and, on that

  basis, denies the allegations.




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        15.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 15, and, on that

  basis, denies the allegations.

        16.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 16, and, on that

  basis, denies the allegations.

        17.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 17, and, on that

  basis, denies the allegations.

        18.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 18, and, on that

  basis, denies the allegations. Northwest Instrument respectfully refers the Court to

  the entirety of the referenced documents for their complete and accurate contents.

        19.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 19, and, on that

  basis, denies the allegations.

        20.    Northwest Instrument denies that Rosenberger Germany is its ultimate

  parent but admits that it is a private, nonpublic entity. Northwest Instrument admits

  that it is a private, nonpublic entity and otherwise lacks knowledge or information




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  sufficient to form a belief as to the truth of the remainder of the allegations set forth

  in Paragraph 20, and, on that basis, denies the allegations.

        21.    Northwest Instrument admits the allegations set forth in the first

  sentence of Paragraph 21 and avers that Northwest Instrument is the landlord for

  Rosenberger Technology LLC. Northwest Instrument admits that it has allowed

  Rosenberger Technology LLC to use its office space at 69 King Street, Dover, New

  Jersey and that there were Rosenberger Technology LLC employees in that space

  for a limited period of time. Northwest Instrument admits that Aili Liu was formerly

  a director and registered agent for Northwest Instrument, but avers that she no longer

  holds those positions. Northwest Instrument otherwise denies the allegations set

  forth in the remainder of Paragraph 21, and respectfully refers the Court to the

  entirety of the referenced documents for their complete and accurate contents.

        22.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 22, and, on that

  basis, denies the allegations.

        23.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 23, and, on that

  basis, denies the allegations.




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        24.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 24, and, on that

  basis, denies the allegations.

        25.    Paragraph 25 states legal conclusions to which no response is required.

        26.    Paragraph 26 states legal conclusions to which no response is required.

        27.    Paragraph 27 states legal conclusions to which no response is required.

  To the extent a response is required, Northwest Instrument lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 27, and, on that basis, denies the allegations.

        28.    Paragraph 28 states legal conclusions to which no response is required.

  To the extent a response is required, Northwest Instrument lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 28, and, on that basis, denies the allegations.

        29.    Paragraph 29 states legal conclusions to which no response is required.

  To the extent a response is required, Northwest Instrument lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 29, and, on that basis, denies the allegations.

        30.    Paragraph 30 states legal conclusions to which no response is required.

  To the extent a response is required, Northwest Instrument denies the allegations set

  forth in Paragraph 30, except admits that the Court has personal jurisdiction over it.



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        31.    Paragraph 31 states legal conclusions to which no response is required.

  To the extent a response is required, Northwest Instrument denies the allegations set

  forth in the first sentence of Paragraph 31. Northwest Instrument lacks knowledge

  or information sufficient to form a belief as to the truth of the allegations set forth in

  the remainder of Paragraph 31, and, on that basis, denies the allegations.

        32.    Paragraph 32 states legal conclusions to which no response is required.

  To the extent a response is required, Northwest Instrument denies the allegations set

  forth in Paragraph 32, except admits that prior to 2019 it had an ownership interest

  in Northwest Instrument (Shanghai) Co., Ltd. and that the Court has personal

  jurisdiction over it. Northwest Instrument respectfully refers the Court to the

  entirety of the referenced documents for their complete and accurate contents.

        33.    Paragraph 33 states legal conclusions to which no response is required.

  To the extent a response is required, Northwest Instrument lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 33, and, on that basis, denies the allegations.

        34.    Paragraph 34 states legal conclusions to which no response is required.

  To the extent a response is required, Northwest Instrument lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 34, and, on that basis, denies the allegations.




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        35.    Paragraph 35 states legal conclusions to which no response is required.

  To the extent a response is required, Northwest Instrument denies the allegations set

  forth in Paragraph 35, except admits that it is organized under the laws of New

  Jersey, has its principal place of business in New Jersey, and is subject to personal

  jurisdiction in this Court.

        36.    Paragraph 36 states legal conclusions to which no response is required.

  To the extent a response is required, Northwest Instrument lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 36, and, on that basis, denies the allegations.

        37.    Paragraph 37 states legal conclusions to which no response is required.

  To the extent a response is required, Northwest Instrument lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 37, and, on that basis, denies the allegations.

        38.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 38, and, on that

  basis, denies the allegations.

        39.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 39, and, on that

  basis, denies the allegations.




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        40.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 40, and, on that

  basis, denies the allegations.

        41.    Northwest Instrument denies that AAAP and PSOAA are “trade secret

  software programs” and otherwise lacks knowledge or information sufficient to state

  a belief as to the truth of the allegations set forth in Paragraph 41, and, on that basis,

  denies the allegations.

        42.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 42, and, on that

  basis, denies the allegations.

        43.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 43, and, on that

  basis, denies the allegations.

        44.    Northwest Instrument lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 44, and, on that

  basis, denies the allegations.

        45.    Northwest Instrument denies that the referenced software programs are

  “trade secret software programs” and otherwise lacks knowledge or information

  sufficient to state a belief as to the truth of the allegations set forth in Paragraph 45,

  and, on that basis, denies the allegations.



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         46.    Northwest Instrument denies that Andrew Antenna Format is a “trade

   secret format” and that the other referenced software tools are trade secrets.

   Northwest Instrument otherwise lacks knowledge or information sufficient to state

   a belief as to the truth of the allegations set forth in Paragraph 46, and, on that basis,

   denies the allegations.

         47.    Northwest Instrument denies that the referenced design, methods, and

   software programs are trade secrets, and otherwise lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in the remainder

   of Paragraph 47, and, on that basis, denies the allegations.

         48.    Northwest Instrument denies the allegations set forth in the first

   sentence of Paragraph 48. Northwest Instrument lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in the remainder

   of Paragraph 48, and, on that basis, denies the allegations.

         49.    Northwest Instrument denies the allegations set forth in Paragraph 49.

         50.    Northwest Instrument denies that the referenced software programs are

   trade secrets. Northwest Instrument otherwise lacks knowledge or information

   sufficient to state a belief as to the truth of the allegations set forth in the remainder

   of Paragraph 50, and, on that basis, denies the allegations.

         51.    Northwest Instrument denies the allegations set forth in Paragraph 51.

         52.    Northwest Instrument denies the allegations set forth in Paragraph 52.



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         53.    Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 53, and, on that

   basis, denies the allegations.

         54.    Northwest Instrument denies the allegations set forth in Paragraph 54.

         55.    Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 55, and, on that

   basis, denies the allegations.

         56.    Northwest Instrument denies the allegations set forth in Paragraph 56.

         57.    Northwest Instrument denies the allegations set forth in Paragraph 57,

   except admits that prior to 2019 it had an ownership interest in Northwest Instrument

   (Shanghai) Co., Ltd., and respectfully refers the Court to the referenced documents

   for their complete and accurate contents.

         58.    Northwest Instrument denies the allegations set forth in Paragraph 58.

         59.    Northwest Instrument denies the allegations set forth in Paragraph 59.

         60.    Northwest Instrument denies the allegations set forth in Paragraph 60.

         61.    Northwest Instrument denies the allegations set forth in Paragraph 61.

         62.    Northwest Instrument denies the allegations set forth in Paragraph 62.

         63.    Northwest Instrument denies the allegations set forth in Paragraph 63.

         64.    Northwest Instrument denies the allegations set forth in Paragraph 64.

         65.    Northwest Instrument denies the allegations set forth in Paragraph 65.



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          66.    Northwest Instrument denies the allegations set forth in Paragraph 66,

   except admits that CommScope makes Antenna Pattern Viewer publicly available.

          67.    Northwest Instrument denies the allegations set forth in Paragraph 67.

          68.   Northwest Instrument denies the allegations set forth in Paragraph 68.

         69.    Northwest Instrument denies the allegations set forth in Paragraph 69.

         70.    Northwest Instrument denies the allegations set forth in Paragraph 70.

         71.    Northwest Instrument denies the allegations set forth in Paragraph 71.

         72.    Northwest Instrument denies the allegations set forth in Paragraph 72.

         73.    Northwest Instrument denies the allegations set forth in Paragraph 73.

         74.    Northwest Instrument denies the allegations set forth in Paragraph 74.

         75.    Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the third and fourth sentence

   of Paragraph 75, and, on that basis, denies the allegations. Northwest Instrument

   denies the allegations set forth in the remainder of Paragraph 75.

         76.    Northwest Instrument denies the allegations set forth in Paragraph 76.

         77.    Northwest Instrument denies the allegations set forth in Paragraph 77.

         78.    Northwest Instrument denies the allegations set forth in the first

   sentence of Paragraph 78. Northwest Instrument otherwise lacks knowledge or

   information sufficient to form a belief as to the truth of the remainder of the

   allegations set forth in Paragraph 78, and, on that basis, denies the allegations.



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   Northwest Instrument respectfully refers the Court to the entirety of the referenced

   presentation for its complete and accurate contents.

         79.    Northwest Instrument denies the allegations set forth in Paragraph 79,

   and respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         80.    Northwest Instrument denies the allegations set forth in Paragraph 80,

   and respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         81.    Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 81, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the entirety of the referenced presentation for its complete and accurate contents.

         82.    Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 82, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the entirety of the referenced presentation for its complete and accurate contents.

         83.    Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 83, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the entirety of the referenced presentation for its complete and accurate contents.



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         84.    Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 84 concerning

   the contents of CommScope’s source code, and, on that basis, denies the allegations.

   Northwest Instrument otherwise denies the allegations set forth in the remainder of

   Paragraph 84.

         85.    Northwest Instrument denies the allegations set forth in Paragraph 85.

         86.    Northwest Instrument denies the allegations set forth in Paragraph 86,

   and respectfully refers the Court to the referenced presentation for its complete and

   accurate contents.

         87.    Northwest Instrument denies the allegations set forth in Paragraph 87,

   and respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         88.    Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 88 concerning

   CommScope’s source code, and, on that basis, denies the allegations. Northwest

   Instrument otherwise denies the allegations set forth in Paragraph 88, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.




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         89.    Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 89, and, on that

   basis, denies the allegations.

         90.    Northwest Instrument denies the allegations set forth in Paragraph 90.

         91.    Northwest Instrument denies that CommScope software was “stolen”

   and otherwise lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations set forth in Paragraph 91, and, on that basis, denies the

   allegations. Northwest Instrument respectfully refers the Court to the entirety of the

   referenced presentations for their complete and accurate contents.

         92.    Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations in Paragraph 92 concerning AT&T’s

   “typical[]” practices, and, on that basis, denies the allegations.          Northwest

   Instrument denies the allegations set forth in the remainder of Paragraph 92.

         93.    Northwest Instrument denies that software was “stolen” and otherwise

   lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 93, and, on that basis, denies the allegations.

   Northwest Instrument respectfully refers the Court to the entirety of the referenced

   documents for their complete and accurate contents.




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         94.    Northwest Instrument denies the allegations set forth in Paragraph 94,

   and respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         95.    Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 95, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the entirety of the referenced presentations for their complete and accurate contents.

         96.    Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 96, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the entirety of the referenced presentations for their complete and accurate contents.

         97.    Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 97, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the entirety of the referenced document for its complete and accurate contents.

         98.    Northwest Instrument denies the allegations set forth in Paragraph 98.

         99.    Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 99, and, on that

   basis, denies the allegations.

         100. Northwest Instrument denies the allegations set forth in Paragraph 100.



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         101. Northwest Instrument denies the allegations set forth in the first

   sentence of Paragraph 101 concerning “misappropriation of the Simulation

   Software” and the fourth sentence of Paragraph 101 describing PSOAA as “a

   CommScope proprietary program that only CommScope’s employees can access.”

   Northwest Instrument otherwise lacks knowledge or information sufficient to form

   a belief as to the truth of the remainder of the allegations set forth in Paragraph 101,

   and, on that basis, denies the allegations.

         102. Northwest Instrument denies the allegations set forth in Paragraph 102.

         103. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 103, and, on that

   basis, denies the allegations.

         104. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 104, and, on that

   basis, denies the allegations.

         105. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 105, and, on that

   basis, denies the allegations.

         106. Northwest Instrument denies the allegations set forth in Paragraph 106.

         107. Northwest Instrument denies the allegations set forth in Paragraph 107.




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         108. Paragraph 108 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument denies the allegations set

   forth in Paragraph 108.

         109. Paragraph 109 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument denies the allegations set

   forth in Paragraph 109.

         110. Northwest Instrument denies the allegations set forth in Paragraph 110.

         111. Northwest Instrument denies the allegations set forth in Paragraph 111,

   and avers that it is not part of the Rosenberger Group.

         112. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 112, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the referenced website for its complete and accurate contents.

         113. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 113, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the referenced documents and website for their complete and accurate contents.

         114. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 114, and, on that




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   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the referenced document for its complete and accurate contents.

         115. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 115, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the referenced document for its complete and accurate contents.

         116. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 116, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the referenced document for its complete and accurate contents.

         117. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 117, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the referenced agreement for its complete and accurate contents.

         118. Northwest Instrument denies the allegations set forth in Paragraph 118,

   and respectfully refers the Court to the referenced documents for their complete and

   accurate contents.

         119. Northwest Instrument denies the allegations set forth in Paragraph 119.

         120. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 120, and, on that



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   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the referenced documents for their complete and accurate contents.

         121. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 121, and, on that

   basis, denies the allegations.

         122. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 122, and, on that

   basis, denies the allegations.

         123. Paragraph 123 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 123, and, on that basis, denies the allegations. Northwest Instrument

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         124. Paragraph 124 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 124, and, on that basis, denies the allegations. Northwest Instrument

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.



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         125. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 125, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the entirety of the referenced agreement for its complete and accurate contents.

         126. Paragraph 126 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 126, and, on that basis, denies the allegations.

         127. Paragraph 127 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 127, and, on that basis, denies the allegations.

         128. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 128, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the entirety of the referenced agreement for its complete and accurate contents.

         129. Paragraph 129 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 129, and, on that basis, denies the allegations. Northwest Instrument



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   respectfully refers the Court to the entirety of the referenced agreement for its

   complete and accurate contents.

         130. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 130, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the entirety of the referenced agreement for its complete and accurate contents.

         131. Paragraph 131 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 131, and, on that basis, denies the allegations. Northwest Instrument

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         132. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 132, and, on that

   basis, denies the allegations.

         133. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 133, and, on that

   basis, denies the allegations.

         134. Paragraph 134 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument lacks knowledge or



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   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 134, and, on that basis, denies the allegations. Northwest Instrument

   respectfully refers the Court to the referenced statement for its complete and accurate

   contents.

         135. Paragraph 135 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 135, and, on that basis, denies the allegations. Northwest Instrument

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         136. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 136, and, on that

   basis, denies the allegations.

         137. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 137, and, on that

   basis, denies the allegations.

         138. Paragraph 138 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 138, and, on that basis, denies the allegations. Northwest Instrument



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   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

          139. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 139, and, on that

   basis, denies the allegations.

          140. Paragraph 140 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 140, and, on that basis, denies the allegations.

          141. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the second and third

   sentences in Paragraph 141, and, on that basis, denies the allegations. Northwest

   Instrument otherwise denies the allegations set forth in the remainder of Paragraph

   141.

          142. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 142, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the referenced documents for their complete and accurate contents.

          143. Northwest Instrument denies the allegations set forth in the last

   sentence of Paragraph 143. Northwest Instrument otherwise lacks knowledge or



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   information sufficient to form a belief as to the truth of the allegations set forth in

   the remainder of Paragraph 143, and, on that basis, denies the allegations.

         144. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 144, and, on that

   basis, denies the allegations.

         145. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 145, and, on that

   basis, denies the allegations.

         146. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 146, and, on that

   basis, denies the allegations.

         147. Northwest Instrument denies the allegations set forth in the first

   sentence of Paragraph 147. Northwest Instrument lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in the remainder

   of Paragraph 147, and, on that basis, denies the allegations.

         148. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the first and second

   sentences of Paragraph 148, and, on that basis, denies the allegations. Northwest

   Instrument denies the allegations set forth in the third sentence of Paragraph 148.




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         149. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the first and second

   sentences of Paragraph 149, and, on that basis, denies the allegations. Northwest

   Instrument denies the allegations set forth in the third sentence of Paragraph 149.

         150. Northwest Instrument denies the allegations set forth in Paragraph 150.

         151. Northwest Instrument denies the allegations set forth in Paragraph 151.

         152. Northwest Instrument denies the allegations set forth in the first

   sentence of Paragraph 152. Northwest Instrument lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in the remainder

   of Paragraph 152, and, on that basis, denies the allegations. Northwest Instrument

   respectfully refers the Court to the referenced document for its complete and

   accurate contents.

         153. Northwest Instrument denies the allegations set forth in Paragraph 153.

         154. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 154, and, on that

   basis, denies the allegations.

         155. Paragraph 155 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 155, and, on that basis, denies the allegations.



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         156. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 156, and, on that

   basis, denies the allegations.

         157. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 157, and, on that

   basis, denies the allegations.

         158. Northwest Instrument denies the allegations set forth in Paragraph 158,

   and respectfully refers the Court to the entirety of the referenced document for its

   complete and accurate contents.

         159. Northwest Instrument denies that Dkt. No. 6 applies to CellMax

   Technologies AB or to Northwest Instrument, Inc., and respectfully refers the Court

   to the referenced document for its complete and accurate contents.

         160. Northwest Instrument denies that Dkt. No. 6 applies to CellMax

   Technologies AB or to Northwest Instrument, Inc., and respectfully refers the Court

   to the referenced document for its complete and accurate contents.

         161. Northwest Instrument denies the allegations set forth in Paragraph 161.

         162. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 162, and, on that

   basis, denies the allegations.




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         163. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 163, and, on that

   basis, denies the allegations.

         164. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 164, and, on that

   basis, denies the allegations.

         165. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 165, and, on that

   basis, denies the allegations.

         166. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 166, and, on that

   basis, denies the allegations.

         167. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 167, and, on that

   basis, denies the allegations.

         168. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 168, and, on that

   basis, denies the allegation.




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         169. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 169, and, on that

   basis, denies the allegations.

         170. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 170, and, on that

   basis, denies the allegations.

         171. Northwest Instrument denies the allegations set forth in Paragraph 171.

         172. Northwest Instrument denies the allegations set forth in Paragraph 172.

         173. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 173, and, on that

   basis, denies the allegations.

         174. Northwest Instrument denies the allegations set forth in Paragraph 174.

         175. Northwest Instrument denies the allegations set forth in Paragraph 175.

         176. Northwest Instrument incorporates by reference its responses to the

   foregoing allegations.

         177. Northwest Instrument denies the allegations set forth in Paragraph 177.

         178. Northwest Instrument denies the allegations set forth in Paragraph 178.

         179. Northwest Instrument denies the allegations set forth in Paragraph 179.

         180. Northwest Instrument denies the allegations set forth in Paragraph 180.

         181. Northwest Instrument denies the allegations set forth in Paragraph 181.



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         182. Northwest Instrument denies the allegations set forth in Paragraph 182.

         183. Northwest Instrument denies the allegations set forth in Paragraph 183.

         184. Northwest Instrument denies the allegations set forth in Paragraph 184.

         185. Northwest Instrument denies the allegations set forth in Paragraph 185.

         186. Northwest Instrument denies the allegations set forth in Paragraph 186.

         187. Northwest Instrument denies the allegations set forth in Paragraph 187.

         188. Northwest Instrument denies the allegations set forth in Paragraph 188.

         189. Northwest Instrument denies the allegations set forth in Paragraph 189.

         190. Northwest Instrument denies the allegations set forth in Paragraph 190.

         191. Northwest Instrument incorporates by reference its responses to the

   foregoing allegations.

         192. Northwest Instrument denies the allegations set forth in Paragraph 192.

         193. Northwest Instrument denies the allegations set forth in Paragraph 193.

         194. Northwest Instrument denies the allegations set forth in Paragraph 194.

         195. Northwest Instrument denies the allegations set forth in Paragraph 195.

         196. Northwest Instrument denies the allegations set forth in Paragraph 196.

         197. Northwest Instrument denies the allegations set forth in Paragraph 197.

         198. Northwest Instrument denies the allegations set forth in Paragraph 198.

         199. Northwest Instrument denies the allegations set forth in Paragraph 199.

         200. Northwest Instrument denies the allegations set forth in Paragraph 200.



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         201. Northwest Instrument denies the allegations set forth in Paragraph 201.

         202. Northwest Instrument incorporates by reference its responses to the

   foregoing allegations.

         203. Northwest Instrument denies the allegations set forth in Paragraph 203.

         204. Northwest Instrument denies the allegations set forth in Paragraph 204.

         205. Northwest Instrument denies the allegations set forth in Paragraph 205.

         206. Northwest Instrument denies the allegations set forth in Paragraph 206.

         207. Northwest Instrument denies the allegations set forth in Paragraph 207.

         208. Northwest Instrument denies the allegations set forth in Paragraph 208.

         209. Northwest Instrument denies the allegations set forth in Paragraph 209.

         210. Northwest Instrument denies the allegations set forth in Paragraph 210.

         211. Northwest Instrument denies the allegations set forth in Paragraph 211.

         212. Northwest Instrument denies the allegations set forth in Paragraph 212.

         213. Northwest Instrument denies the allegations set forth in Paragraph 213.

         214. Northwest Instrument incorporates by reference its responses to the

   foregoing allegations.

         215. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 215, and, on that

   basis, denies the allegations.

         216. Northwest Instrument denies the allegations set forth in Paragraph 216.



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         217. Northwest Instrument denies the allegations set forth in Paragraph 217.

         218. Northwest Instrument denies the allegations set forth in Paragraph 218.

         219. Northwest Instrument denies the allegations set forth in Paragraph 219.

         220. Northwest Instrument denies the allegations set forth in Paragraph 220.

         221. Northwest Instrument denies the allegations set forth in Paragraph 221.

         222. Northwest Instrument denies the allegations set forth in Paragraph 222.

         223. Northwest Instrument denies the allegations set forth in Paragraph 223.

         224. Northwest Instrument incorporates by reference its responses to the

   foregoing allegations.

         225. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 225, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the referenced document for its complete and accurate contents

         226. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 226, and, on that

   basis, denies the allegations. Northwest Instrument respectfully refers the Court to

   the referenced document for its complete and accurate contents

         227. Paragraph 227 states a legal conclusion to which no response is

   required.   To the extent a response is required, Northwest Instrument lacks




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   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 227, and, on that basis, denies the allegations.

         228. Paragraph 228 states a legal conclusion to which no response is

   required.   To the extent a response is required, Northwest Instrument lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 228, and, on that basis, denies the allegations.

         229. Paragraph 229 states a legal conclusion to which no response is

   required.   To the extent a response is required, Northwest Instrument lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 229, and, on that basis, denies the allegations.

         230. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 230, and, on that

   basis, denies the allegations.

         231. Paragraph 231 states a legal conclusion to which no response is

   required. To the extent a response is required, Northwest Instrument denies the

   allegations set forth in Paragraph 231.

         232. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 232, and, on that

   basis, denies the allegations.




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         233. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 233, and, on that

   basis, denies the allegations.

         234. Paragraph 234 states a legal conclusion to which no response is

   required. To the extent a response is required, Northwest Instrument denies the

   allegations set forth in Paragraph 234.

         235. Paragraph 235 states a legal conclusion to which no response is

   required. To the extent a response is required, Northwest Instrument denies the

   allegations set forth in Paragraph 235.

         236. Northwest Instrument denies the allegations set forth in Paragraph 236.

         237. Paragraph 237 states a legal conclusion to which no response is

   required. To the extent a response is required, Northwest Instrument denies the

   allegations set forth in Paragraph 237.

         238. Paragraph 238 states a legal conclusion to which no response is

   required. To the extent a response is required, Northwest Instrument respectfully

   refers the Court to the entirety of the referenced agreements for their complete and

   accurate contents.

         239. Northwest Instrument incorporates by reference its responses to the

   foregoing allegations.




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         240. Paragraph 240 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument denies the allegations set

   forth in Paragraph 240.

         241. Northwest Instrument denies the allegations set forth in Paragraph 241.

         242. Northwest Instrument denies the allegations set forth in Paragraph 242.

         243. Northwest Instrument denies the allegations set forth in Paragraph 243.

         244. Paragraph 244 states a legal conclusion to which no response is

   required.   To the extent a response is required, Northwest Instrument lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 244, and, on that basis, denies the allegations.

         245. Paragraph 245 states a legal conclusion to which no response is

   required.   To the extent a response is required, Northwest Instrument lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 245, and, on that basis, denies the allegations.

         246. Northwest Instrument denies the allegations set forth in Paragraph 246.

         247. Northwest Instrument incorporates by reference its responses to the

   foregoing allegations.

         248. Northwest Instrument admits that it is not a party to the Agreements

   referenced in Paragraph 248 and respectfully refers the Court to the referenced

   agreements for their complete and accurate contents.



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         249. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 249, and, on that

   basis, denies the allegations.

         250. Northwest Instrument denies the allegations set forth in Paragraph 250.

         251. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 251, and, on that

   basis, denies the allegations.

         252. Paragraph 252 states legal conclusions to which no response is required.

   To the extent a response is required, Northwest Instrument denies the allegations set

   forth in Paragraph 252.

         253. Northwest Instrument denies the allegations set forth in Paragraph 253.

         254. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 254, and, on that

   basis, denies the allegations.

         255. Northwest Instrument denies the allegations set forth in Paragraph 255.

         256. Northwest Instrument denies the allegations set forth in Paragraph 256.

         257. Northwest Instrument denies the allegations set forth in Paragraph 257.

         258. Northwest Instrument lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the first sentence and the

   first clause of the second sentence of Paragraph 258, and, on that basis, denies the



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   allegations. Northwest Instrument denies the allegations set forth in the remainder

   of Paragraph 258.

         259. Paragraph 259 states a legal conclusion to which no response is

   required.   To the extent a response is required, Northwest Instrument lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 259, and, on that basis, denies the allegations.

         260. Paragraph 260 states a legal conclusion to which no response is

   required.   To the extent a response is required, Northwest Instrument lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 260, and, on that basis, denies the allegations.

         261. Northwest Instrument denies the allegations set forth in Paragraph 261.

         262. Northwest Instrument incorporates by reference its responses to the

   foregoing allegations.

         263. Northwest Instrument denies the allegations set forth in Paragraph 263.

         264. Northwest Instrument denies the allegations set forth in Paragraph 264.

         265. Northwest Instrument denies the allegations set forth in Paragraph 265.

         266. Northwest Instrument denies the allegations set forth in Paragraph 266.

         267. Northwest Instrument denies the allegations set forth in Paragraph 267.

         268. Northwest Instrument denies the allegations set forth in Paragraph 268.

         269. Northwest Instrument denies the allegations set forth in Paragraph 269.



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         270. Northwest Instrument denies the allegations set forth in Paragraph 270.

         271. Northwest Instrument denies the allegations set forth in Paragraph 271.

         272. Northwest Instrument denies the allegations set forth in Paragraph 272.

         273. Northwest Instrument incorporates by reference its responses to the

   foregoing allegations.

         274. Paragraph 274 states a legal conclusion to which no response is

   required. To the extent a response is required, Northwest Instrument denies the

   allegations set forth in Paragraph 274.

         275. Northwest Instrument denies the allegations set forth in the first two

   sentences of Paragraph 275. Northwest Instrument otherwise lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   the remainder of Paragraph 275, and, on that basis, denies the allegations.

         276. Northwest Instrument denies the allegations set forth in Paragraph 276.

         277. Northwest Instrument denies the allegations set forth in Paragraph 277.

         278. Northwest Instrument incorporates by reference its responses to the

   foregoing allegations.

         279. Paragraph 279 states a legal conclusion to which no response is

   required.




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         280. Paragraph 280 states a legal conclusion to which no response is

   required. To the extent a response is required, Northwest Instrument denies the

   allegations set forth in Paragraph 280.

         281. Northwest Instrument denies the allegations set forth in Paragraph 281.

         282. Northwest Instrument denies the allegations set forth in Paragraph 282.

         283. Northwest Instrument denies the allegations set forth in Paragraph 283.

         284. Northwest Instrument denies the allegations set forth in Paragraph 284.

         285. Northwest Instrument denies the allegations set forth in Paragraph 285.

         286. Northwest Instrument denies the allegations set forth in Paragraph 286.

         287. Northwest Instrument denies the allegations set forth in Paragraph 287.

         288. Northwest Instrument denies the allegations set forth in Paragraph 288.

                             AFFIRMATIVE DEFENSES

         289. By alleging the Affirmative Defenses set forth below, Northwest

   Instrument intends no alteration of the burden of proof and/or burden of going

   forward with evidence which otherwise exists with respect to any particular issues

   at law or in equity. Furthermore, all such defenses are pleaded in the alternative,

   and do not constitute an admission of liability or that Plaintiffs are entitled to any

   relief whatsoever.




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                                 First Affirmative Defense

         290. Plaintiffs’ claims are barred in whole or in part because the Second

   Amended Complaint fails to state a claim upon which relief can be granted.

                                Second Affirmative Defense

         291. Plaintiffs’ claims are barred in whole or in part by the applicable

   statutes of limitations, laches, and the statute of repose.

                                 Third Affirmative Defense
         292. Plaintiffs’ claims are barred in whole or in part by the doctrines of

   laches, waiver, consent, release, estoppel, unclean hands, and/or ratification.

                                Fourth Affirmative Defense
         293. Plaintiffs’ claims are barred in whole or in part by the doctrine of

   equitable estoppel.

                                 Fifth Affirmative Defense

         294. Plaintiffs’ claims are barred because Plaintiffs have failed to show that

   what they allege to be trade secrets are actually trade secrets under the law.

                                 Sixth Affirmative Defense

         295. Plaintiffs’ claims are barred because, to the extent any form of trade

   secrets exists, Plaintiffs have not shown that Plaintiffs are the owners of the alleged

   trade secrets.




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                              Seventh Affirmative Defense

         296. Plaintiffs’ claims are barred because Plaintiffs have failed to identify

   the specific trade secrets allegedly misappropriated and used by Defendants.

                               Eighth Affirmative Defense

         297. Plaintiffs’ claims are barred because the alleged trade secrets are either

   generally known or readily ascertainable by proper means, were not valuable

   business information, or were not the subject of efforts that were reasonable under

   the circumstances to maintain their secrecy.

                               Ninth Affirmative Defense

         298. Plaintiffs’ claims are barred because Plaintiffs failed to take reasonable

   steps to maintain and safeguard the secrecy of any information claimed in this action

   to be a trade secret.

                               Tenth Affirmative Defense

         299. Plaintiffs’ claims are barred because they have not suffered any losses

   or damages proximately caused by the conduct of Defendants alleged in the Second

   Amended Complaint.

                              Eleventh Affirmative Defense
         300. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because Plaintiffs’ alleged trade secrets have been disclosed publicly or were

   generally known.



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                               Twelfth Affirmative Defense

         301. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because the technology and processes used to make the accused products were

   independently developed.

                              Thirteenth Affirmative Defense

         302. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because, to the extent Rosenberger acquired any alleged trade secret, it did so in a

   lawful manner.

                              Fourteenth Affirmative Defense

         303. Plaintiffs’ claims are barred in whole or in part because Plaintiffs have

   failed to mitigate any damages they may have suffered.

                              Fifteenth Affirmative Defense

         304. Plaintiffs’ claims are barred in whole or in part because it cannot

   demonstrate that Defendants acted with the requisite intent.

                              Sixteenth Affirmative Defense

         305. Plaintiffs’ claims for misappropriation of trade secrets fail, in whole or

   in part, on the grounds that the alleged trade secrets or other confidential and

   proprietary information for which Plaintiffs claim they are entitled to the relief

   sought are not trade secrets because Plaintiffs cannot meet their burden to show that

   the information derives independent economic value, actual or potential, from not



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   being generally known to, and not being readily ascertainable through proper means

   by, another person who can obtain economic value from the disclosure or use of the

   information.

                            Seventeenth Affirmative Defense

         306. Plaintiffs’ claims are barred in whole or in part by the applicable statute

   of limitations.

                             Eighteenth Affirmative Defense

         307. Plaintiffs are not entitled to injunctive relief because any injury to them

   is not immediate or irreparable, Plaintiffs would have an adequate remedy at law,

   the balance of hardships weighs against an injunction, and the public interest is best

   served by not issuing an injunction.

                             Nineteenth Affirmative Defense

         308. Plaintiffs have not suffered and will not suffer harm as a result of

   Rosenberger’s alleged misconduct.

                             Twentieth Affirmative Defense

         309. Plaintiffs’ claims under United States or state law have no

   extraterritorial effect. Plaintiffs are barred from asserting such claims concerning

   conduct outside the United States.




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                             Twenty-First Affirmative Defense

         310. Any decision by a court outside the United States, or agreement entered

   into by the parties outside the United States, should be given deference as a matter

   of comity.

                           Twenty-Second Affirmative Defense

         311. Northwest Instrument hereby adopts by reference any additional

   applicable defense pleaded by any other defendant and not otherwise pleaded herein,

   as well as any defense available under the statutes relied upon by Plaintiffs.

   Northwest Instrument intends to rely upon any additional defense that is now or may

   become available or appears during or as a result of the discovery proceedings in

   this action, and expressly reserves its right to amend its answer to assert any such

   defense.

         WHEREFORE, Northwest Instrument demands judgment in its favor and

   against the Plaintiffs, as follows:

                (a)    For Northwest Instrument and against Plaintiffs on each and
                       every claim set forth in the Second Amended Complaint;

                (b)    Awarding Northwest Instrument reasonable attorneys’ fees and
                       costs as well as such other and further relief as the Court may
                       deem just and proper.




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   Dated: September 7, 2021

                                      Respectfully submitted,
                                      LOWENSTEIN SANDLER LLP

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                                      Northwest Instrument, Inc.



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